      Case 4:14-cv-04480-YGR Document 316 Filed 10/25/19 Page 1 of 2



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12
                                  UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                             OAKLAND DIVISION
15
     TWITTER, INC.,                                    Case No. 14-cv-4480-YGR
16
                                                       PLAINTIFF TWITTER’S
17                          Plaintiff,                 ADMINISTRATIVE MOTION TO FILE
            v.                                         UNDER SEAL EXHIBITS 6–10 OF THE
18                                                     RUBIN DECLARATION IN SUPPORT
                                                       OF TWITTER’S OPPOSITION TO
19   WILLIAM P. BARR, Attorney General of the          DEFENDANTS’ MOTION FOR
     United States, et al.,                            SUMMARY JUDGMENT; AND IN
20                                                     SUPPORT OF (1) ITS CROSS-MOTION
                                                       FOR SUMMARY JUDGMENT & (2)
21                          Defendants.                ITS RENEWED MOTION FOR
                                                       ACCESS TO CLASSIFIED
22                                                     MATERIALS

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                                                     ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                                                       CASE NO. 14-CV-4480-YGR
      Case 4:14-cv-04480-YGR Document 316 Filed 10/25/19 Page 2 of 2



 1           Pursuant to Northern District of California Local Civil Rules 7-11 and 79-5(e), Plaintiff

 2   Twitter, Inc. (“Twitter”) respectfully requests that the Court order sealed the following exhibits to

 3   the Declaration of Lee H. Rubin submitted in support of Twitter’s Opposition to Defendants’

 4   Motion for Summary Judgment; and in support of (1) its Cross-Motion for Summary Judgment &

 5   (2) its Renewed Motion for Access to Classified Materials (the “Designated Material”):

 6                  Exhibit 6;

 7                  Exhibit 7;

 8                  Exhibit 8;

 9                  Exhibit 9; and

10                  Exhibit 10.

11           The Designated Material contains information Defendants have designated as

12   “CONFIDENTIAL” pursuant to the Stipulated Protective Order entered in this case on March 27,

13   2017. Dkt. No. 170; Declaration of Lee Rubin in support of Twitter’s Administrative Motion to

14   Seal (“Rubin Sealing Decl.”), ¶ 2. In accordance with that protective order and Local Civil Rules

15   79-5(d) and (e), Twitter hereby moves to seal the Designated Material. Twitter takes no position on

16   the propriety of Defendants’ privilege designations. Rather, as required by Local Rule 79-5(e),

17   Defendants will provide the basis for this sealing request via a separate filing.

18           WHEREFORE, Twitter respectfully submits this administrative motion and hereby notifies

19   Defendants of their burden to establish the Designated Material as sealable.

20

21   Dated: October 25, 2019                                 MAYER BROWN LLP

22                                                            /s/ Lee H. Rubin
                                                             LEE H. RUBIN
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                                                             Attorneys for Plaintiff Twitter, Inc.
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                                                         ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                                                   CASE NO. CASE NO. 14-CV-4480-YGR
     Case 4:14-cv-04480-YGR Document 316-1 Filed 10/25/19 Page 1 of 2



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                                  UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                             OAKLAND DIVISION
15
     TWITTER, INC.,                                    Case No. 14-cv-4480-YGR
16
                                                       DECLARATION OF LEE H. RUBIN IN
17                          Plaintiff,                 SUPPORT OF PLAINTIFF TWITTER’S
            v.                                         ADMINISTRATIVE MOTION TO FILE
18                                                     UNDER SEAL EXHIBITS 6–10 OF THE
                                                       RUBIN DECLARATION IN SUPPORT
19   WILLIAM P. BARR, Attorney General of the          OF TWITTER’S OPPOSITION TO
     United States, et al.,                            DEFENDANTS’ MOTION FOR
20                                                     SUMMARY JUDGMENT; AND IN
                                                       SUPPORT OF (1) ITS CROSS-MOTION
21                          Defendants.                FOR SUMMARY JUDGMENT & (2)
                                                       ITS RENEWED MOTION FOR
22                                                     ACCESS TO CLASSIFIED
                                                       MATERIALS
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                                                     DECLARATION OF LEE H. RUBIN ISO TWITTER’S
                                                            ADMIN. MOTION TO FILE UNDER SEAL
                                                                       CASE NO. 14-CV-4480-YGR
     Case 4:14-cv-04480-YGR Document 316-1 Filed 10/25/19 Page 2 of 2



 1           I, Lee H. Rubin, declare as follows:

 2           1.      I am an attorney with the law firm of Mayer Brown LLP and lead counsel to

 3   Plaintiff Twitter, Inc. (“Twitter”) in the above-captioned matter. I submit this declaration in support

 4   of Twitter’s Administrative Motion to File Under Seal Exhibits 6–10 to the Declaration of Lee H.

 5   Rubin in support of Twitter’s Opposition to Defendants’ Motion for Summary Judgment; and in

 6   support of (1) its Cross-Motion for Summary Judgment & (2) its Renewed Motion for Access to

 7   Classified Materials, filed concurrently herewith. I have personal knowledge of the facts stated in

 8   this declaration and, if called as a witness, I could and would competently testify to the same.

 9           2.      Specifically, Twitter requests to seal in their entirety Exhibits 6–10 to the

10   Declaration of Lee H. Rubin submitted in support of Twitter’s Opposition to Defendants’ Motion

11   for Summary Judgment, and in support of (1) its Cross-Motion for Summary Judgment and (2) its

12   Renewed Motion for Access to Classified Materials (the “Designated Material”).

13           3.      The Designated Material contains information Defendants have designated as

14   “CONFIDENTIAL” pursuant to the Stipulated Protective Order entered in this case on March 27,

15   2017, as Dkt. No. 170.

16           4.      Twitter takes no position on the propriety of Defendants’ confidentiality

17   designations, but files the Designated Material under seal in a good faith effort to comply with the

18   parties’ Stipulated Protective Order and the Civil Local Rules.

19           I declare under penalty of perjury under the laws of the United States that the foregoing is

20   true and correct.

21           Executed on October 25, 2019 in Palo Alto, California.

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                                                              /s/ Lee H. Rubin
24                                                           Lee H. Rubin
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                                                        1
                                                            DECLARATION OF LEE H. RUBIN ISO TWITTER’S
                                                                   ADMIN. MOTION TO FILE UNDER SEAL
                                                                              CASE NO. 14-CV-4480-YGR
     Case 4:14-cv-04480-YGR Document 316-2 Filed 10/25/19 Page 1 of 2



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                                  UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                             OAKLAND DIVISION
15
     TWITTER, INC.,                                       Case No. 14-cv-4480-YGR
16
                                                          [PROPOSED] ORDER GRANTING
17                          Plaintiff,                    PLAINTIFF TWITTER’S
            v.                                            ADMINISTRATIVE MOTION TO FILE
18                                                        UNDER SEAL EXHIBITS 6–10 OF THE
                                                          RUBIN DECLARATION IN SUPPORT
19   WILLIAM P. BARR, Attorney General of the             OF TWITTER’S OPPOSITION TO
     United States, et al.,                               DEFENDANTS’ MOTION FOR
20                                                        SUMMARY JUDGMENT; AND IN
                                                          SUPPORT OF (1) ITS CROSS-MOTION
21                          Defendants.                   FOR SUMMARY JUDGMENT & (2)
                                                          ITS RENEWED MOTION FOR
22                                                        ACCESS TO CLASSIFIED
                                                          MATERIALS
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                                              [PROPOSED] ORDER ON ADMINISTRATIVE MOTION TO SEAL
                                                                          CASE NO. 14-CV-4480-YGR
     Case 4:14-cv-04480-YGR Document 316-2 Filed 10/25/19 Page 2 of 2



 1          The Court having considered Plaintiff Twitter, Inc.’s Administrative Motion to File

 2   Under Seal Exhibits 6–10 of the Rubin Declaration in support of Twitter’s Opposition to

 3   Defendants’ Motion for Summary Judgment and in support of its Cross-Motion (“Administrative

 4   Motion”), and having received Defendants’ responsive declaration as required by Civil Local

 5   Rule 79-5(e)(1), IT IS HEREBY ORDERED THAT the Administrative Motion is GRANTED.

 6          THE COURT HEREBY ORDERS that the following exhibits filed entirely under seal

 7   shall remain under seal:

 8   Document or Portion of     Evidence Offered in Support of Sealing          Order
     Document Sought to be
 9
     Sealed
10   Exhibit 6                  Rubin Declaration ¶ 3

11
     Exhibit 7                  Rubin Declaration ¶ 3
12
     Exhibit 8                  Rubin Declaration ¶ 3
13

14   Exhibit 9                  Rubin Declaration ¶ 3
15
     Exhibit 10                 Rubin Declaration ¶ 3
16

17          IT IS SO ORDERED.
18

19   Dated: _____________________
                                                        The Hon. Yvonne Gonzalez Rogers
20                                                      United States District Judge
21

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                                                    1
                                                   [PROPOSED] ORDER ON ADMINISTRATIVE MOTION
                                                                        CASE NO. 14-CV-4480-YGR
